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Mark M. Kovacich - 5 t

Lewis, Slovak & Kovacich, P.C. AUG - 1 2008 JUL 16 2008

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Attorneys for Plaintiffs Pyage, Dept tt

MONTANA SECOND JUDICIAL DISTRICT COURT, SILVER BOW COUNTY

GREGORY A. CHRISTIAN; MICHELLE D.
CHRISTIAN; ROSEMARY CHOQUETTE;
ESTER VIOLETTE; DUANE N. COLWELL;
SHIRLEY A. COLWELL; BRYCE MEYER;
MILDRED MEYER; FRANKLIN J. COONEY;
VICKI COONEY; DALE CORTRIGHT:
GEORGE COWARD; SHIRLEY COWARD;
JACK E. DATRES; ROBBIE OPP; BRUCE
DUXBURY; JOYCE DUXBURY; VIOLA
DUFFY; BILL FIELD; CHRIS FIELD;
JAMES GRESS; CHARLES GUSTAFSON;
MICHAEL HENDRICKSON; BRUCE |
HOLBROOK; MAUREEN ROBINSON-
HOLBROOK; SHAUN HOOLAHAN;
PATRICE HOOLAHAN; BARBARA
KELSEY; CARL KOEPPLIN; MYRTLE
KOEPPLIN; DOUG KRATTIGER; BRENDA
KRATTIGER; JULIE LATRAY:; RUSS
MCKAY; KRISTY MCKAY; TED
MINNEHAN; JUDY MINNEHAN; RICHARD
MORSE; DIANE MORSE; PATRICK
MULCAHY; KAREN MULCAHY; SERGE
MYERS; NANCY MYERS; JOHN NEWELL;
JANE NEWELL; GEORGE NILAND;
LAURIE NILAND; DONALD PETERS; JUDY
PETERS; TAMMY PETERS; ROBERT
PHILLIPS; TONI PHILLIPS; DONNA SUE
PIERCE; ROBERT PIERCE; WILLIAM D.
POWERS; CAROL POWERS; ALEX

REID; SHEILA DORSCHER; LARRY RUPP;

PETE REISENAUER; SUE REISENAUER;
KENT REISENAUER; LADONA KRUM;
JOHN A. RUSINSKI;, KATHRYN RUSINSKI:
CARL RYAN; PENNY RYAN; DAVID D.
SCHLOSSER; ILONA M. SCHLOSSER;

CAUSE NO. DV-08-173 BN
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AMENDED COMPLAINT
AND JURY DEMAND

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DALE SCHAFER; MICHAEL SEVALSTAD;
JIM SHAFFORD; STEVE SIMON; JESSICA
MANSELL; RICHARD SILZLY; ROSEMARIE
SILZLY; KEVIN SORUM; SUSAN SORUM;
ZANE SPEHAR; VICKIE SPEHAR; JAMES
SVENDSEN, JR.; CARON SVENDSEN;
CARA SVENDSEN; JAMES H. SVENDSEN,
SR.; DON SPARKS; JOHN STOPPLER; ED
JONES; RUTH JONES; SHARON YATES;
KEN YATES; DOUG VIOLETTE; LEONARD
MANN; VALERIE MANN; DAVID ZIMMER;
TONI ZIMMER; DAVID OSTROM; ROSE
ANN OSTROM; TOM PUCCINELLI; SCOTT
RUSS; EMILY RUSS; ANTHONY SOLAN;
MALISSA RAASAKKA; DARLENE WILLEY;
CHARLES WALROD; CAROL WALROD;
WILLIAM YELSA; LESLIE NELSON, and
RON NELSON;

Plaintiffs,
vs.

BP Amoco CORPORATION, a Foreign
Corporation for Profit, BP CORPORATION
NORTH AMERICA, iNC., a Foreign for
Profit Corporation; BP AMERICA, INC., a
Foreign Corporation for Profit;; BP Amoco
CHEMICAL COMPANY, a Corporation;

BP Amoco, P.L.C., a Corporation; THE
BRITISH PETROLEUM COMPANY, P.L.C.,
a Foreign Corporation for Profit; ATLANTIC
RICHFIELD COMPANY, a Corporation for
Profit, ATLANTIC RICHFIELD DELAWARE
CORPORATION, a Delaware Corporation
for Profit; THE ANACONDA DELAWARE
CORPORATION, a for Profit Corporation;
THE ANACONDA COMPANY, a Montana
Corporation, ANACONDA MINERALS
COMPANY, a Corporation; ANACONDA
COPPER MINING COMPANY; a For Profit
Corporation; ESTATE OF FRANK DAY,
Deceased: SHANNON DUNLAP; and
DOES | - 100, Inclusive;

Meet Me ge eee Nonmelanoma” “eet Siegeeet” et” Pingel” See! Seem! iageeet!” “es” apa” “nee” “taal! Mianeeet” get” “ee” “el” “ape” “emetic” “ieee “ema” emg “grt” “ee” “ms” “nemaee” “empet “iterae” “neat” “iegaeet” teat” eet” “et Semper“

Defendants.

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COME NOW the plaintiffs, demanding trial by jury, and for their complaint
against the defendants, allege as follows:

PARTIES
1.

All plaintiffs, except LaDona Krum and Anthony Solan, are citizens of the State
of Montana. Plaintiff LaDona Krum is a citizen of Nevada. Plaintiff Anthony Solan is a
citizen of Washington. One or more of the plaintiffs is a resident of Silver Bow County.
Plaintiffs own real property in and around Opportunity, Montana.

2.

Defendant The Anaconda Company is and/or was a business corporation for

profit with its principal place of business in the State of Montana.
3.

Defendants Atlantic Richfield Company (ARCO), Atlantic Richfield Delaware
Corporation, and The Anaconda Delaware Corporation are business corporations for
profit organized and existing under the laws of states other than the State of Montana
with principal places of business in states unknown to the plaintiff. Defendants ARCO;
Atlantic Richfield Delaware Corporation; and Anaconda Delaware Corporation were
involved in merger agreements, which ultimately resulted in the purchase and/or
acquisition of defendant The Anaconda Company by ARCO. As a result of the said
merger agreements and the acquisition of The Anaconda Company, ARCO, Atlantic
Richfield Delaware Corporation, and Anaconda Delaware Corporation assumed liability
for all claims that could have been brought against The Anaconda Company. For
purposes of this action, the allegations and claims against The Anaconda Company are
also allegations and claims against ARCO, Atlantic Richfield Delaware Corporation, and

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Anaconda Delaware Corporation, as successor corporations. (The Anaconda
Company, ARCO, Atlantic Richfield Delaware Corporation, and Anaconda Delaware
Corporation may be referred to from time to time herein as the “ARCO Defendants.”)

4,

Defendants BP Amoco Corporation: BP Corporation North America, Inc.; BP
America, Inc.; BP Amoco Chemical Company; BP Amoco, P.L.C.; The British
Petroleum Company, P.L.C.; and one or more of Does 1 - 1000 Inc. are business
corporations for profit organized and existing under the laws of states other than the
State of Montana with principal places of business in States unknown to the plaintiff (BP
Amoco Corporation; BP Corporation North America, Inc.; BP America, Inc.; BP Amoco
Chemical Company; BP Amoco, P.L.C.; The British Petroleum Company, PL.C.; and
one or more of Does 1 - 1000 Inc. may be referred to from time to time herein as the
“BP Amoco Defendants.”) The BP Amoco Defendants were involved in merger
agreements, which ultimately resulted in the purchase and/or acquisition of the ARCO
Defendants. As a result of the merger agreement and acquisition of the ARCO
Defendants, the BP Amoco Defendants assumed liability for all claims which could
have been brought against the ARCO Defendants and The Anaconda Company. For
purposes of this action, the allegations and claims against the ARCO Defendants and
The Anaconda Company are also allegations and claims against the BP Amoco
Defendants, as successor corporations.

5.

Defendant the Estate of Frank Day is a citizen and resident of the State of
Montana. On the date of his death Frank Day was a citizen and resident of the State of
Montana. This action is brought against the Estate of Frank Day for personal torts of

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Frank Day committed in his individual capacity against the plaintiffs and in his capacity
as manager of The Anaconda Company smelter in Anaconda, Montana.

6.

Defendant Shannon Dunlap is a citizen and resident of Butte, Silver Bow County,
Montana. Dunlap is an employee of ARCO. This action is brought against Dunlap for
personal torts committed in his individual capacity against the plaintiffs.

7.

The true names and capacities of defendants named herein as Does | through
100, inclusive, are unknown to plaintiffs at this time. Plaintiffs therefore bring this action
against Does | through 100, inclusive, by such fictitious names. Plaintiffs will seek
leave to amend this complaint to state the true names and capacities of Does 1 through
100 when the same have been ascertained, together with further appropriate charging
allegations. Plaintiffs are informed, believe, and thereon allege that each defendant,
fictitiously named Does 1 through 100, is legally responsible for the occurrences herein
alleged and that plaintiffs’ damages were proximately caused by each fictitiously named
defendant's unlawful acts or omissions. Defendants Does 1 through 100, inclusive, are
natural persons, corporations, partnerships, joint ventures, or other legal entities who
wrongfully and unlawfully caused or contributed to plaintiffs’ damages.

JURISDICTION AND VENUE
8.
The District Court has jurisdiction pursuant to § 3-5-302, MCA.
9.

Venue is proper in the Montana Second Judicial District Court, Silver Bow

County, Montana, pursuant to § 25-2-117, 25-2-118, and 25-2-122, MCA, because

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defendant Dunlap is a resident of Silver Bow County, and because the defendants
committed acts resulting in the accrual of this tort action in Silver Bow County.

GENERAL ALLEGATIONS

10.

Each act of negligence, carelessness, recklessness, and maliciousness, and
each violation of law alleged herein was commitied by defendants and/or employees or
agents of defendants, acting within the course and scope of their emptoyment or
agency with defendants, and in furtherance of the business interests of defendants; and
each unlawful act or omission alleged herein is imputable to defendants.

11.

ARCO and its predecessors, acting in the course and scope of their businesses,
owned, occupied, operated, managed, used, and/or maintained a milling and smelting
operation located near the towns of Anaconda and Opportunity, Deer Lodge County,
Montana. This operation and its associated ore processing and smelting facilities were
developed to remove copper from ore mined in Butte, Silver Bow County, from 1884 to
1980.

12.

During the period of their ownership and occupancy of the mining, milling, and
smelting operation and its associated facilities, and at times since closing the operation,
defendants negligently, suddenly, accidentally, unexpectedly, maliciously, and with
reckless disregard of plaintiffs’ rights, caused toxic and hazardous smelter and ore
processing wastes - including, but not limited to, mine tailings, furnace slag, flue dust,
and heavy metals such as arsenic, copper, cadmium, lead, and zinc - to enter the air,
soil, surface waters, and groundwater in and around said facilities.

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13.

Said toxic contaminants and hazardous materials migrated, and continue to

migrate, by means of air, groundwater, and soil, onto the property of the plaintiffs.
14.

Defendants intentionally, negligently, maliciously, and/or with reckless disregard
of plaintiffs’ rights, made affirmative misrepresentations and/or failed to disclose
material facts to plaintiffs, and/or prior owners of plaintiffs’ property. Defendants were
aware of the toxicity and migration of said hazardous materials, knew the hazards
associated with the migration of such toxic materials into the community, and failed to
warn plaintiffs, or prior owners of plaintiffs’ property, that their health, welfare, and
property values had been jeopardized.

15.

As a direct and proximate result of the defendants’ unlawful conduct, plaintiffs
have suffered damages, including, but are not limited to, loss of real property value,
damage to their interests in real property, costs of investigation and restoration of real
property, loss of use and enjoyment of property, and incidental and consequential
damages.

FIRST CAUSE OF ACTION

(Negligence)
Plaintiffs reallege paragraphs 1 through 15 of this Complaint and Jury Demand
and adopt the same as paragraphs 1 through 15 of this First Cause of Action.
16.
Defendants owed plaintiffs a duty to act with reasonable care, so as not to
jeopardize their property, health, and welfare.

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17.

Defendants breached their duty of care by negligently, carelessly, and recklessly
generating, releasing, depositing, disposing, and failing to control and contain the
hazardous and toxic materials generated, used, and released at their Anaconda mining,
milling, and smelting operation and its associated facilities. Defendants’ negligence is
more particularly described as follows:

A. Failure to control and contain heavy metals and other toxic substances

generated and spread as a result of defendants’ operations;

B. Failure to prevent said toxic materials from migrating to neighboring
properties;
C. Failure to exercise reasonable care to contain the toxins once the

defendants knew or reasonably should have known they had polluted a
large area in and about the plaintiffs’ properties;

D. Failure to exercise reasonable care to prevent the escape of defendants’
toxins that permeated the soil and contaminated the groundwater in and
about the area of plaintiffs’ properties thereby creating a substantial risk of
harm and injury to plaintiffs and their properties:

E. Failure to remove the toxic substances from the plaintiffs’ properties; and

F. Failure to warn the plaintiffs of the scope of and dangers posed by the
contamination.

18.
As a direct and proximate result of the defendants’ foregoing negligent and
unlawtul conduct, plaintiffs have suffered, and continue to suffer, damages and
detriment as herein alleged.

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SECOND CAUSE OF ACTION

(Public Nuisance}

Plaintiffs reallege paragraphs 1 through 18 of the First Cause of Action and

adopt the same as paragraphs 1 through 18 of this Second Cause of Action.
19.

The plaintiffs are members of the public who reside, work, conduct their personal
and business affairs, and have proprietary interests in certain real and personal
property in the areas affected by defendants’ contamination. Plaintiffs also have rights
incidental to that property, including the right to the exclusive use and quiet enjoyment
of the property.

20.

The conduct of defendants violates § 27-30-101, MCA, et seq., and constitutes a
common law nuisance in that it is specially injurious and offensive to the senses of the
plaintiffs, specially interferes with and disturbs their comfortable enjoyment of their life
and property, and untawfully prevents the customary use of their property and
residences. The contamination caused by defendants’ activities, as herein described,
affects a considerable number of persons, including the entire community surrounding
plaintiffs’ property.

21.

To the extent the nuisance is not also a private nuisance, the nuisance is
specially injurious to plaintiffs in that they are members of the public who reside or own
property within the area immediately affected by the pollution. Plaintiffs therefore have
suffered interference with and injury to the use and enjoyment of their property which is
different in kind from the injury suffered by the general public.

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22.
Unless the nuisance is abated, plaintiffs’ property and rights of enjoyment of their
property will be progressively further damaged and further jeopardized in the future.
23.
As a direct and proximate result of the public nuisance alleged herein, plaintiffs
have suffered, and continue to suffer damages and detriment as herein alleged.

THIRD CAUSE OF ACTION

(Private Nuisance)

Plaintiffs reallege paragraphs 1 through 23 of the Second Cause of Action and

adopt the same as paragraphs 1 through 23 of this Third Cause of Action.
24,

Plaintiffs have ownership and/or proprietary interests in certain real and personal
property in the areas affected by the defendants’ toxic contamination released into the
soil, air, and water. Plaintiffs also have the right to the exclusive use and quiet
enjoyment of their property.

25.

The conduct of the defendants constitutes a private nuisance in that such
conduct has caused substantial injury to and interference with the comfortable
enjoyment and use by plaintiffs of their real and personal property, and their rights to
use their property and residences in the customary manner without exposure to or
concern regarding the dangers of toxic substances.

26.

Unless the nuisance is abated, plaintiffs’ property and their right to use and enjoy

their property and their interests will be progressively further jeopardized.

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27.
As a direct and proximate result of the private nuisance created by defendants's
unlawful conduct and activities, and the toxic dumping that resulted therefrom, plaintiffs
have suffered, and continue to suffer damages and detriment as herein alleged.

FOURTH CAUSE OF ACTION

(Trespass)

Plaintiffs reallege paragraphs 1 through 27 of the Third Cause of Action and

adopt the same as paragraphs 1 through 27 of this Fourth Cause of Action.
28.

At all times relevant to the causes of action alleged in this Complaint, plaintiffs
resided on, owned, and/or lawfully possessed property within the area affected by the
contamination.

29.

The defendants intentionally, recklessly, negligently, without just cause and by
conducting an abnormally dangerous activity, committed the wrongful act of trespass by
causing heavy metals, including arsenic, copper, cadmium, lead, and zinc, and other
toxic contaminants and hazardous substances, including mine tailings, furnace slag,
and flue dust, to invade and to remain on the real property of plaintiffs. Said toxic
substances were transported on to plaintiffs’ properties by air, soil, and groundwater.

30.
Defendants have failed to remove said toxic substances from the property.
31.

As a direct and proximate result of defendants’ trespass, plaintiffs have suffered,

and continue to suffer damage and loss to their real property as herein alleged.

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FIFTH CAUSE OF ACTION

(Strict Liability for Abnormally Dangerous Activity)

Plaintiffs reallege paragraphs 1 through 31 of the Fourth Cause of Action and

adopt the same as paragraphs | through 31 of this Fifth Cause of Action.
32.

The mining, milling, smelting, use, disposal, and release of large quantities and
concentrations of heavy metals and other hazardous substances as herein alleged and
the operation of a large scale mining, milling, and smelting operation immediately
adjacent to a residential community is an abnormally dangerous and ultra hazardous
activity in that:

A. There exists a high degree of risk of serious harm to the environment,
persons, land, chattels of others, including plaintiffs, which cannot be
eliminated by the exercise of reasonable care;

B. There is a strong likelihood that great harm will result from the mining,
milling, smelting, use, disposal, and release of such hazardous materials
and toxic substances:

C. The mining, milling, smelting, use, disposal, and release of such
hazardous materials and toxic substances in large quantities and
concentrations in close proximity to a residential community is not a
matter of common usage such as would be carried on by the great mass
of mankind or many people in the community;

D. The manner in which defendants mined, milled, smelted, used, disposed,
and released such materials at their facilities is and was inappropriate;
and

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E. The value to defendants of the mining, milling, smelting, use, disposal,
and release of such large quantities and concentrations of hazardous
materials and toxic substances adjacent to a residential community is
outweighed by the likelihood of harm resulting therefrom.
33.
As a direct and proximate result of defendants’ unlawful actions and abnormally
dangerous and ultra hazardous activities, plaintiffs have suffered, and continue to
suffer, damages and detriment as herein alleged.

SIXTH CAUSE OF ACTION

(Constructive Fraud)

Plaintiffs reallege paragraphs 1 through 33 of the Fifth Cause of Action and

adopt the same as paragraphs 1 through 33 of this Sixth Cause of Action.
34.

Defendants, including defendant Dunlap and including defendant The Estate of |
Frank Day, by and through its decedent Frank Day, have known for decades that their
conduct as herein alleged caused toxic substances and hazardous materials to enter
the air, soil and groundwater and, as such, invade and remain on piaintiffs’ real
property.

35.

Defendants, and each of them, had, and continue to have, an absolute duty to
disclose fully and to warn plaintiffs, on an ongoing basis, of the nature of, type of, extent
of, scope of contamination and the risks posed by the toxic substances and hazardous
materials released by the defendants’ mining, milling, and smelting operation and its
associated facilities.

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36.

Defendants breached, and continue to breach, their duties, as set forth in the
preceding paragraph, and further, have misrepresented and continue to misrepresent,
downplay, and conceal material facts, thereby gaining an unfair advantage, by
deception, over plaintiffs to their prejudice, all in violation of § 28-2-406, MCA, and the
common law of Montana.

37.

As a result of defendants’ constructively fraudulent and deceitful acts, plaintiffs’
interests were compromised because they relied upon the misinformation of
defendants’ to their detriment and suffered damages, and continue to suffer damages
and detriment as herein alleged.

SEVENTH CAUSE OF ACTION

(Unjust Enrichment)

Plaintiffs reallege paragraphs 1 through 37 of the Sixth Cause of Action and

adopt the same as paragraphs 1 through 37 of this Seventh Cause of Action.
38.

The defendants intentionally, negligently, unlawfully, and wrongfully disposed of
and deposited toxic substances onto the plaintiffs’ properties. Despite knowledge that
the defendants had contaminated the plaintiffs’ properties, the defendants have failed
and refused to timely and properly remove the contamination.

39.

The defendants’ use of plaintiffs’ property to dispose of, deposit, and store toxic
substances is wrongful and unlawful. Plaintiffs did not consent to the use of their
property in that manner.

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40.
The defendants’ unauthorized use of plaintiffs’ property has benefitted them
monetarily to the plaintiffs’ detriment. The defendants are therefore unjustly enriched,
and plaintiffs are entitled to damages as a result of the defendants’ unjust enrichment.

SEVENTH CAUSE OF ACTION

(Wrongful Occupation of Real Property)

Plaintiffs reallege paragraphs 1 through 40 of the Seventh Cause of Action and

adopt the same as paragraphs 1 through 40 of this Eighth Cause of Action.
41.

Defendants have wrongfully occupied and continue to wrongfully occupy

plaintiffs’ private property in violation of 271-318, MCA, and Montana commen law.
42.

As a result of defendants’ wrongful occupation of plaintiffs’ property, plaintiffs

have suffered, and continue to suffer damages and detriment as herein alleged.
DAMAGES
43.

As a direct and proximate result of defendants’ wrongful and unlawful acts and
omissions, as herein alleged, plaintiffs were injured, have suffered, continue to suffer,
and/or are reasonably certain to suffer, the following harm, detriment, and damages:

A. Injury to and loss of use and enjoyment of real and personal property:

B. Loss of the value of real property and rights incidental thereto, and loss of

use of that value and those rights:

C. Incidental and consequential damages, including relocation expenses and

loss of rental income and/or value:

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D. Annoyance, inconvenience and discomfort over the loss and prospective
loss of property value, economic opportunities, ways of life and other legal
rights: and
E. Expenses for and cost of investigation and restoration of real property:
44,

The Montana Constitution guarantees all persons in Montana the inalienable,
fundamental right to acquire, possess, and protect property, as well as the right to a
clean and healthful environment. Defendants’ conduct has violated the plaintiffs’
constitutional rights, and plaintiffs are entitled to damages for full restoration of their
property as necessary to protect these constitutional rights.

45.

The defendants have been unjustly enriched. Plaintiffs are entitled to damages

as a result of the defendants’ unjust enrichment.
46.

Plaintiffs are entitled to damages for defendants’ wrongful occupation of the
plaintiffs’ properties.

47.

Plaintiffs have suffered and continue to suffer actual damages as a result of
defendants’ unlawful conduct.

48.

Although defendants have known for many years that their unlawful conduct has
caused, and continues to cause, actual and extensive harm to plaintiffs and their
property interests, defendants have deliberately proceeded to act in conscious and
intentional disregard for and indifference to the harm and the high probability of further

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injury and harm to plaintiffs. The conduct of defendants’ is so intentional, fraudulent,
malicious, and egregious so as to shock the conscience and present an affront to
societal interests that are unfathomable. Defendants have acted with cold and
calculated indifference to the rights and interests of the plaintiffs and their community.

49.

Defendants have made misrepresentations of fact with knowledge or their falsity
and have concealed material facts with the purpose of depriving plaintiffs of their
property or legal rights and otherwise causing them injury, harm, and damages.

50.

Defendants were, and are, guilty of intentional misconduct, actual malice, which
justifies imposition of punitive or exemplary damages in a sufficient amount to punish
them and to serve as warning to other legal entities similarly situated that such conduct
is unacceptable in our society and will not be tolerated.

JURY DEMAND

Plaintiffs demand trial by jury.

PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray for judgment against the defendants and awarding
damages for following:

1. Reasonable compensation to plaintiffs for all harm they have suffered as
a result of defendants’ unlawful conduct;

2. Damages for investigation and restoration of plaintiffs’ property and other
contaminated property in close proximity to plaintiffs’ property in order to remove
present contamination and prevent future contamination;

3. Reasonable compensation for loss of property value;

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4. Reasonable compensation for loss of use and enjoyment of real property;

5. Damages for the value of defendants’ unauthorized use and wrongful
occupation of plaintiffs’ property, as well as the costs necessary to plaintiffs to recover
possession of their property, including all necessary investigation and restoration costs;

6. Reasonable compensation for unjust enrichment;

7. Reasonable compensation for annoyance, inconvenience, and discomfort
over the loss and prospective loss of property value, economic opportunities, and other
legal rights;

8. Punitive and exemplary damages in an amount sufficient to punish and to
deter defendants and others similarly situated from engaging in similar wrongdoing;

9. Incidental and consequential damages, including relocation expenses and
loss of rental income and value;

10. Costs and disbursements incurred herein; and

11. Such other and further relief as the Court deems just and equitable.

DATED this 8" day of July, 2008.

LEWIS, SLOVAK & KOVACICH, P.C.

ay _otebacka

Tom L. Lewis

P.O. Box 2325

Great Falls, MT 59403
Attorneys for Plaintiffs

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